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                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

   IN RE:                                               §
                                                        §
   DEEPROOT CAPITAL MANAGEMENT,                         §         BANKRUPTCY NO. 21-51523-MMP
   LLC ET AL.,1                                         §
                                                        §
            DEBTORS                                     §             JOINTLY ADMINISTERED
                                                        §
                                                        §
   JOHN PATRICK LOWE,                                   §
   CHAPTER 7 TRUSTEE                                    §
   FOR THE BANKRUPTCY ESTATE                            §
   OF DEEPROOT CAPITAL                                  §
   MANAGEMENT, LLC ET AL.,                              §         ADV. PROC. NO.
          PLAINTIFF                                     §
                                                        §
   v.                                                   §
                                                        §
   WILEY CALVIN CARTER AND                              §
   METROPOLITAN CMG, LLC,                               §
         DEFENDANTS                                     §


                                   PLAINTIFF’S ORIGINAL COMPLAINT

            Plaintiff, John Patrick Lowe, Chapter 7 Trustee (“Plaintiff” or “Trustee”) for the jointly

   administered Bankruptcy Cases of deeproot Capital Management, LLC et al. (“deeproot”)2 hereby

   files this Original Complaint, respectfully showing the Court as follows:


   1
    The jointly administered chapter 7 cases, along with their respective case numbers and the last four digits of each
   Debtor's federal tax identification number, are: I n R e : Policy Services, Inc. 21-51513 (2864), In Re: Wizard
   Mode Media, LLC, 21-51514 (3205), I n R e : deeproot Pinball LLC, 21-51515 (0320), I n R e : deeproot Growth
   Runs Deep Fund, LLC, 21-51516 (8046), I n R e : deeproot 575 Fund, LLC, 21-51517 (9404), I n R e : deeproot 3
   Year Bonus Income Debenture Fund, LLC, 21-51518 (7731), In Re: deeproot Bonus Growth 5 Year Debenture
   Fund, LLC, 21-51519 (9661), In Re: deeproot Tech LLC, 21-51520 (9043), In Re: deeproot Funds LLC, 21-51521
   (9404), I n R e : deeproot Studios LLC , 21-51522 (6283), and In Re: deeproot Capital Management, LLC, 21-
   51523 (2638) (collectively, the “Bankruptcy Cases”).
   2
    The debtors—Policy Services, Inc., Wizard Mode Media, LLC, deeproot Pinball LLC, deeproot Growth Runs Deep
   Fund, LLC, deeproot 575 Fund, LLC, deeproot 3 Year Bonus Income Debenture Fund, LLC, deeproot BonusGrowth
   5 Year Debenture Fund, LLC, deeproot Tech LLC, deeproot Funds, LLC, deeproot Studios, LLC, and deeproot Capital
   Management, LLC—are referred to herein as “Debtors” or “deeproot Entities.”

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                                        I.       PRELIMINARY STATEMENT

              1.      From late 2012 to mid-2021, Robert J. Mueller (“Mueller”), the sole principal and

   manager of the Debtors, orchestrated a Ponzi scheme wherein he persuaded investors (typically

   retirees) to cash out annuities and individual retirement accounts and invest the funds in Mueller’s

   various investment funds, including but not limited to the deeproot BonusGrowth 5 Year

   Debenture Fund, LLC (the “5 Year Debenture Fund”), the deeproot 575 Fund, LLC (the “575

   Fund”) and deeproot Growth Runs Deep Fund, LLC (the “dGRD Fund” and collectively the

   “Subsidiary Funds”). Beginning in 2012, the deeproot Entities offered and sold life settlements.

   However, after the Texas Supreme Court’s 20153 decision holding that life settlements constituted

   securities under the Texas Securities Act, the deeproot Entities began to offer and sell debenture

   bonds. Investors would be located through insurance agents, wealth advisors, and other financial

   professionals (the “Finders”). The vast majority of the Finders were not licensed to sell securities

   as broker-dealers or registered investment advisors. Monies invested in the Subsidiary Funds were

   eventually transferred to deeproot Funds, LLC before being paid out to investors in the form of

   interest payments, dividend payments, or withdrawals of principal. deeproot Funds, LLC was the

   parent of the Subsidiary Funds, and Policy Services, Inc. was the parent of deeproot Funds, LLC.

              2.      On August 20, 2021, a few weeks prior to the filing of the Debtors’ bankruptcy

   cases, the United States Securities and Exchange Commission (“SEC”) initiated a civil action

   against Mueller and several of his entities for violations of federal securities laws.4 As a result of

   that investigation, it became clear that Mueller not only funneled money to his other related entities

   from the investment funds and used investors’ money to prop up his ultimately unsuccessful




   3
       Life Partners, Inc. v. Arnold, 464 S.W.3d 660, 667 (Tex. 2015).
   4
       Securities and Exchange Commission v. Robert J. Mueller et al., Case No. 5:21-cv-00785-XR (W.D. Tex.).

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   pinball business, but Mueller also used new investor money to pay moneys owed to earlier

   investors, making the deeproot Entities a Ponzi scheme. Almost all of the deeproot Entities’

   investors lost every dollar they invested.

            3.    The Finders contracted with deeproot Funds, LLC and received finders’ fees and

   commissions in exchange for finding new investors into the deeproot Entities’ Ponzi scheme. The

   commissions and fees received by Finders that were not registered as investment advisors or

   broker-dealers are contrary to securities laws and these unregistered finders are liable to investors

   and creditors of the deeproot Entities.

                                                II.   PARTIES

            4.    Plaintiff is the duly qualified and acting Chapter 7 Trustee of the Debtors’ jointly

   administered Bankruptcy Cases. The Trustee brings this adversary proceeding pursuant to Federal

   Rule of Bankruptcy Procedure 7001, 28 U.S.C. § 157, and all other applicable law.

            5.    Defendant Wiley Calvin Carter (“Carter”) is an individual residing in San Antonio,

   Texas. He may be served with process via United States First Class Mail to (1) 6522 Camp Bullis

   Road, Apt. 7108, San Antonio, Texas 78256, (2) 19141 Stone Oak Pkwy, Suite 104, San Antonio,

   Texas 78258, or (3) wherever else he may be found.

            6.    Metropolitan CMG, LLC (“Metropolitan CMG”) is a Texas limited liability

   company with its principal place of business in San Antonio, Texas. It may be served with process

   via United States First Class Mail to its corporate officer, Wiley Carter, at (1) 6522 Camp Bullis

   Road, Apt. 7108, San Antonio, Texas 78256, (2) 19141 Stone Oak Pkwy, Suite 104, San Antonio,

   Texas 78258, or wherever anyone authorized to accept service on its behalf may be found.




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                                     III.    JURISDICTION AND VENUE

            7.    This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

   1331 and 1334 and Fed. R. Bankr. P. 7001. This adversary proceeding constitutes a core

   proceeding pursuant to 28 U.S.C. § 157. To the extent necessary, this Court has supplemental

   jurisdiction pursuant to 28 U.S.C. § 1367.

            8.    To the extent the reference is withdrawn or the Bankruptcy Court is unable to enter

   a final judgment, Plaintiff requests the Bankruptcy Court be permitted and assigned to preside over

   all pre-trial matters, including the issuance of findings of fact and conclusions of law.

            9.    Venue in this adversary proceeding is proper in this Court pursuant to 28 U.S.C. §

   1409.

                                              IV.     FACTS

            10.   Mueller served as the principal of all of the deeproot Entities and orchestrated a

   Ponzi scheme wherein he offered and sold securities to individuals for investment in pooled

   investment funds. Mueller then used the invested money to fund his other business ventures,

   including his pinball machine business. He also used the money to fund his lavish lifestyle.

   Crucially, Mueller used later investors’ money to pay fictional returns to earlier investors.

   A.       The deeproot Entities and the Ponzi Scheme

            11.   A Ponzi scheme is “a fraudulent investment scheme in which money contributed

   by later investors generates artificially high dividends or returns for the original investors, whose

   example attracts even larger investments.” BLACK’S LAW DICTIONARY, Ponzi scheme (11th ed.

   2019). A Ponzi scheme operates by using money from new investors to pay earlier investors,

   typically “without any operation or revenue-producing activity other than the continual raising of




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   new funds.” Id. “[A] Ponzi scheme is, as a matter of law, insolvent from its inception.” Janvey v.

   Alguire, 647 F.3d 585, 597 (5th Cir. 2011).

            12.   The deeproot Entities commenced operations in 2012. The first entity formed was

   Policy Services, Inc. deeproot Funds, LLC is a direct subsidiary of Policy Services, Inc. The

   Subsidiary Funds were formed as direct subsidiaries of deeproot Funds, LLC. A review of the

   deeproot Entities’ QuickBooks files and other financial books and records revealed that all of the

   investment advisors and wealth managers that contracted to find investors for deeproot Funds,

   LLC were paid commissions and fees from Policy Services, Inc.

            13.   Policy Services, Inc. and its subsidiaries never received an initial equity investment,

   and the deeproot Entities were all insolvent as of inception in 2012 and continued to operate at a

   loss. The deeproot Entities gave the appearance of profitability, which Mueller used to entice new

   investors and obtain new money from investors. The deeproot Entities offered investments at

   higher-than-market levels of return—for example, deeproot BonusGrowth 5 Year Debenture Fund,

   LLC’s five-year debenture bonds were offered for a 7% return in 2014, which was nearly seven

   times more than the national rate for five-year debenture bonds at the time, according to data

   available from the Board of Governors of the Federal Reserve. See Exhibit A.

            14.   There was no recorded capital investment on the balance sheet, and disbursements

   to Mueller and others were improperly recorded as assets rather than expenses, further boosting

   the appearance of profitability. After recharacterizing the disbursements as expenses, the equity

   for Policy Services, Inc. was $(1,490,187) for the year ending on December 31, 2013, and

   $(423,785) for the year ending on December 31, 2012. Policy Services and its subsidiaries had

   minimal revenue and had no net income as of at least December 31, 2012. Policy Services, Inc.




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   continued to operate at a loss from the time of its inception and all of the deeproot Entities remained

   insolvent until filing for bankruptcy on December 9, 2021 (“Petition Date”).

            15.   Since there was no source of revenue, the deeproot Entities relied on newly invested

   money to fund operations and make payments to earlier investors. From 2013 until 2021, deeproot

   Funds, LLC used new investor money to pay interest and dividends to earlier investors. For

   example, during the final three years of the deeproot Entities’ operation, the following payments

   were made: (1) in 2019, deeproot Funds, LLC received $18,300,190.00 from new investors and

   used $1,074,885.00 to previous investors; (2) in 2020, deeproot Funds, LLC received $7,093,055

   from new investors and used $1,333,554.00 to pay previous investors; and (3) in 2021, deeproot

   Funds, LLC received $10,827,147 from new investors and used $918,391.00 to pay previous

   investors.

            16.   Based upon the books and records of deeproot Funds, LLC revealed that the entity

   only generated $865 in revenue during the nine years of its existence. Policy Services, Inc. had

   only minimal revenue from the time of its inception in 2012.

            17.   On December 9, 2021, the deeproot Entities each filed for relief under title 11 of

   the United States Code. The Bankruptcy Cases were ordered to be jointly administered under the

   lead case In re: deeproot Capital Management, LLC, 21-51523.

            18.   On or about December 21, 2021, John Patrick Lowe was appointed as Chapter 7

   Trustee of the Debtors’ jointly administered Bankruptcy Cases.

   B.       Finders

            19.   As the principal of the deeproot Entities, Mueller (through deeproot Funds, LLC)

   contracted with Finders all across the country to locate new investors and raise money for the

   deeproot Entities. A securities broker-dealer is defined as “any person engaged in the business of



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   effecting transactions for the account of others.” 15 U.S.C. § 78c. Broker-dealers are required to

   register as such with the SEC. 15 U.S.C. § 78o. Prior to 2015, the deeproot Entities offered and

   sold life settlements. After the Texas Supreme Court’s 2015 decision holding that life settlements

   are securities, the deeproot Entities offered securities in the form of debenture bonds.5

              20.      The vast majority of the deeproot Entities’ contracted Finders were unregistered as

   broker-dealers despite the fact that they engaged in transactions to facilitate the sale of securities,

   including debenture bonds and life settlements.6 The Finders that were registered investment

   advisors or broker-dealers failed to conduct the requisite due diligence into the financial condition

   of the deeproot Entities when making investment recommendations to clients. The deeproot

   Entities relied on these Finders to bring in a steady flow of money because there was no other

   source of revenue for the deeproot Entities other than newly invested money because the deeproot

   Entities continuously operated at a loss.

              21.      Monies invested with one of the Subsidiary Funds were eventually transferred to

   deeproot Funds, LLC, which was the principal entity that handled payments to investors, before

   being transferred elsewhere. The Finders typically entered into contracts with deeproot Funds,

   LLC to be paid fees (the “Finder Fees”) based off of the amount of money invested in one of the


   5
       The deeproot Entities obtained Form D exemptions from the SEC to offer these securities.
   6
     Courts have recognized a so-called “finder’s exception,” which permits a person to “‘perform a narrow scope of
   activities without triggering the b[r]oker/dealer registration requirements,’” such as “‘[m]erely bringing together the
   parties to transactions, even those involving the purchase and sale of securities, is not enough’” to warrant broker
   registration. S.E.C. v. Kramer, 778 F. Supp. 2d 1320, 1336 (M.D. Fla. 2011) (quoting Salamon v. Teleplus Enter.,
   Inc., No. 05-2058 (WHW), 2008 WL 2277094, at *8 (D. N.J. 2008), and Apex Global Partners, Inc. v. Kaye/Bassman
   Intern. Corp., No. 3:09-cv-637-M, 2009 WL 2777869, at *3 (N.D. Tex. Aug. 31, 2009)). The most commonly cited
   factors as to whether someone was acting as a broker with respect to a given transaction are: “whether a person (1)
   works as an employee of the issuer, (2) receives a commission rather than a salary, (3) sells or earlier sold the securities
   of another issuer, (4) participates in negotiations between the issuer and investor, (5) provides either advice or a
   valuation as to the merit of an investment, and (6) actively (rather than passively) finds investors.” Id. at 1334.
   “[T]ransaction-based compensation” is one of the hallmarks of being a broker-dealer. Kramer, 778 F. Supp. 2d at
   1336 (citing Cornhusker Energy Lexington, LLC v. Prospect St. Ventures, 2006 WL 2620985, at *6 (D. Neb. 2006).



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   deeproot Entities by new investors. The Finder Fees were paid to Finders from Policy Services,

   Inc. regardless of where the new investor invested the monies. Generally, Finders Fees were paid

   based on the below investment levels. The transaction-based Finders Fees are directly tied to the

   amount of the investment.




                  a. Finder Agreements with Defendants

            22.      From March 6, 2016 to August 26, 2019, Metropolitan CMG received $57,500.00

   from Policy Services, Inc. (the “Metropolitan CMG 544 Transfers”). A true and correct copy of

   Policy Services, Inc.’s QuickBooks records showing the Metropolitan CMG 544 Transfers is

   attached hereto as Exhibit B.

            23.      During the four years preceding Petition Date, Metropolitan CMG received

   $14,000.00 from Policy Services, Inc. (the “Metropolitan CMG 544 CF Transfers”). A true and

   correct copy of Policy Services, Inc.’s QuickBooks records showing the Metropolitan CMG 544

   CF Transfers is attached hereto as Exhibit C.

            24.      Based on the records available from the records of the Texas Secretary of State,

   Carter was the principal of Metropolitan CMG. A true and correct copy of the Texas Secretary of

   State record for Metropolitan CMG is attached hereto as Exhibit D.


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            25.   A review of the Debtors’ books and records revealed that Carter executed numerous

   Finder Agreements with deeproot Funds, LLC. Specifically, Carter signed five (5) Standard Four

   Month Finder Agreements in his individual capacity (the “Finder Agreements”).

            26.   The Finder Agreements provided that Carter would receive Finders Fees for

   locating new investors for the Subsidiary Funds. The financial books and records of deeproot

   Funds, LLC show that Metropolitan CMG received the Finders Fees and Carter did not. Carter

   was the principal of Metropolitan CMG and signed all of the Finder Agreements on Metropolitan

   CMG’s behalf.

            27.   Carter is not currently registered as a broker-dealer with FINRA. Metropolitan

   CMG is not a registered firm with FINRA.

                                       V.      CAUSES OF ACTION

            28.   The Trustee brings this adversary proceeding to recover these fraudulently

   transferred funds for the benefit of creditors of Policy Services, Inc.

            29.   Paragraphs 1 through 27 are incorporated herein by reference.

   Count 1 – Avoidance of Fraudulent Transfer under 11 U.S.C. § 544 and the Texas Uniform
   Fraudulent Transfer Act (Tex. Bus. & Com. Code § 24.005(a)(1)) (Metropolitan CMG)
   (TUFTA Actual Fraud)

            30.   Pursuant to 11 U.S.C. § 544 and Tex. Bus. & Com. Code § 24.005(a)(1), the Trustee

   files this complaint seeking to avoid fraudulent transfers of property of Policy Services, Inc. to

   Metropolitan CMG during the applicable time period, and for damages against the fraudulent

   transferees of Policy Services, Inc. during the applicable time period.

            31.   The Metropolitan CMG 544 Transfers in the amount of $57,500.00 took place

   between March 6, 2016 to August 26, 2019. Exhibit B. The Metropolitan CMG 544 Transfers

   constitute transfers of Debtor Policy Services, Inc.’s interest in property.



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           32.   The Metropolitan CMG 544 Transfers were made with an actual intent to hinder,

  delay or defraud Debtor Policy Services, Inc.’s creditors. The deeproot Entities were operated as

  a Ponzi scheme in which interest and dividend payments to earlier investors were paid using new

  investor money, thus paying fictitious profits for earlier investors.

           33.   Debtor Policy Services, Inc. was insolvent at the time of its creation and at the time

  of each of the Metropolitan CMG 544 Transfers or became insolvent as a result of the Metropolitan

  CMG 544 Transfers, in that (a) the sum of Policy Services, Inc.’s debts were greater than all of

  Policy Services, Inc.’s assets at a fair valuation; (b) Policy Services, Inc. was engaging in or about

  to engage in a business or transaction for which Policy Services, Inc.’s remaining assets were

  unreasonably small in relation to the business or transaction; or (c) Policy Services, Inc. was

  intending to incur, or believed or reasonably should have believed that it would incur debts beyond

  its ability to pay such debts as they became due.

           34.   There was no capital infusion at the time Policy Services, Inc. was created.

           35.   Policy Services, Inc. had at least one outstanding creditor at the time of each of the

  Metropolitan CMG 544 Transfers, or such creditor’s claim arose within a reasonable time after the

  Metropolitan CMG 544 Transfers. Proof of Claim No. 145-1 of the Policy Services, Inc. Claims

  Register filed by creditor Jill Ellis reflecting a claim dating back to March 25, 2013 evidenced by

  a life settlement certificate purchased on the same date. Proof of Claim No. 145-1 remains unpaid.

           36.   Pursuant to Tex. Bus. & Com. Code § 24.010(a)(1), the Trustee brings this action

  within one year of the date the Trustee discovered or could reasonably have discovered the

  Metropolitan CMG 544 Transfers. The Metropolitan CMG 544 Transfers constituted fraudulent

  transfers under 11 U.S.C. § 544 and Tex. Bus. & Com. Code § 24.005(a)(1), such that the Trustee




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  is entitled to a judgment in the amount of $57,500.00 to recover the Metropolitan CMG 544

  Transfers from Metropolitan CMG.

  Count 2 – Avoidance of Fraudulent Transfer under 11 U.S.C. § 544 and the Texas Uniform
  Fraudulent Transfer Act (Tex. Bus. & Com. Code § 24.005(a)(2)) (Metropolitan CMG)
  (TUFTA Constructive Fraud)

           37.   Pursuant to 11 U.S.C. § 544 and Tex. Bus. & Com. Code § 24.005(a)(2), the Trustee

  files this complaint seeking to avoid fraudulent transfers of property of Policy Services, Inc. to

  Metropolitan CMG during the applicable time period, and for damages against the fraudulent

  transferees of Policy Services, Inc. during the applicable time period.

           38.   The Metropolitan CMG 544 CF Transfers in the amount of $14,000.00 took place

  within the four years preceding Petition Date. Exhibit C. The Metropolitan CMG 544 CF Transfers

  constitute transfers of Debtor Policy Services, Inc.’s interest in property.

           39.   The Metropolitan CMG 544 CF Transfers were not made in exchange for adequate

  consideration for Debtor Policy Services, Inc.

           40.   Debtor Policy Services, Inc. was insolvent at the time of its creation and at the time

  of each of the Metropolitan CMG 544 CF Transfers or became insolvent as a result of the

  Metropolitan CMG 544 CF Transfers, in that (a) the sum of Policy Services, Inc.’s debts were

  greater than all of Policy Services, Inc.’s assets at a fair valuation; (b) Policy Services, Inc. was

  engaging in or about to engage in a business or transaction for which Policy Services, Inc.’s

  remaining assets were unreasonably small in relation to the business or transaction; or (c) Policy

  Services, Inc. was intending to incur, or believed or reasonably should have believed that it would

  incur debts beyond its ability to pay such debts as they became due.

           41.   There was no capital infusion at the time Policy Services, Inc. was created.

           42.   Policy Services, Inc. had at least one outstanding creditor at the time of each of the

  Metropolitan CMG 544 CF Transfers, or such creditor’s claim arose within a reasonable time after
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  the Metropolitan CMG 544 CF Transfers. Proof of Claim No. 145-1 of the Policy Services, Inc.

  Claims Register filed by creditor Jill Ellis reflecting a claim dating back to March 25, 2013

  evidenced by a life settlement certificate purchased on the same date. Proof of Claim No. 145-1

  remains unpaid.

           43.   The Metropolitan CMG 544 CF Transfers constituted fraudulent transfers under 11

  U.S.C. § 544 and Tex. Bus. & Com. Code § 24.005(a)(1), such that the Trustee is entitled to a

  judgment in the amount of $14,000.00 to recover the Metropolitan CMG 544 CF Transfers from

  Metropolitan CMG.

  Count 3 – Recovery of Avoided Transfers Pursuant to 11 U.S.C. § 550 and the Texas
  Uniform Fraudulent Transfer Act (Tex. Bus. & Com. Code § 24.005(a)(1)) (All Defendants)

           44.   Metropolitan CMG was the initial transferee of the Metropolitan CMG 544

  Transfers and the Metropolitan CMG 544 CF Transfers.

           45.   The Trustee is entitled to recover from Metropolitan CMG, or any immediate or

  mediate transferee of Metropolitan CMG, the Metropolitan CMG 544 Transfers and the

  Metropolitan CMG 544 CF Transfers, or the value of the Metropolitan CMG 544 Transfers and

  the Metropolitan CMG 544 CF Transfers, along with prejudgment and post-judgment interest,

  pursuant to section 550 of the Bankruptcy Code and section 24.009(b) of the Texas Business and

  Commerce Code.

  Count 4 – Recovery of Attorneys’ Fees and Costs

           46.   The Trustee has been forced to incur attorneys’ fees and costs in connection with

  the filing and prosecution of this Complaint.

           47.   Pursuant to 11 U.S.C. § 544 and section 24.013 of the Texas Business and

  Commerce Code, the Court may award costs and reasonable attorneys’ fees in connection with a

  proceeding brought under the Texas Uniform Fraudulent Transfer Act. The Trustee hereby

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  requests that any judgment include an award of the costs and attorneys’ fees incurred by the Trustee

  in connection with prosecuting this Complaint.

           48.   Prior to filing suit, the Trustee has made demand on the Defendants. The demand

  has not been met. All conditions precedent to filing suit have been satisfied.

           49.   Furthermore, the Trustee requests an award for such attorneys’ fees and costs

  incurred in the filing and prosecution of this Complaint to the extent allowed under the Bankruptcy

  Code and Texas law. See 11 U.S.C. §§ 105(a), 544, 550(a), and Tex. Bus. & Com. Code § 24.013.

                                               PRAYER

           WHEREFORE, JOHN PATRICK LOWE, Chapter 7 Trustee for the jointly administered

  Bankruptcy case of deeproot Capital Management, LLC, prays for judgment in favor of the

  Chapter 7 Trustee on all claims and relief sought herein, including but not limited to:

           a.    Avoiding the Metropolitan CMG 544 Transfers and the Metropolitan CMG 544 CF
                 Transfers as fraudulent transfers under section 544 of the Bankruptcy Code and
                 Chapter 24 of the Texas Business & Commerce Code;

           b.    Permitting recovery of the Metropolitan CMG 544 Transfers and the Metropolitan
                 CMG 544 CF Transfers or the value of the Metropolitan CMG 544 Transfers and
                 the Metropolitan CMG 544 CF Transfers, along with prejudgment and post-
                 judgment interest;

           c.    Permitting recovery of all costs and attorneys’ fees incurred obtaining the relief
                 sought; and

           d.    Such other and further relief, at law or in equity, as the Court deems to be just,
                 proper, and equitable.




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  Dated: December 7, 2022            Respectfully submitted,

                                     PULMAN, CAPPUCCIO & PULLEN, LLP
                                     2161 NW Military Highway, Suite 400
                                     San Antonio, Texas 78213
                                     (210) 222-9494 Telephone
                                     (210) 892-1610 Facsimile

                                     By:     /s/ Randall A Pulman
                                             Randall A. Pulman
                                             Texas State Bar No. 16393250
                                             rpulman@pulmanlaw.com
                                             Anna K. MacFarlane
                                             Texas State Bar No. 24116701
                                             amacfarlane@pulmanlaw.com

                                     ATTORNEYS FOR JOHN PATRICK LOWE,
                                     CHAPTER 7 TRUSTEE FOR DEEPROOT CAPITAL
                                     MANAGEMENT, LLC ET AL.




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                         EXHIBIT A
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                     Market Yield on U.S. Treasury Securities at 5-Year
                                                                     ofConstant
                                                                        30 Maturity, Quoted on an Investment Basis
          4.5



          4.0



          3.5



          3.0



          2.5
Percent




          2.0



          1.5



          1.0



          0.5



          0.0
                              2016             2017             2018      2019   2020              2021       2022


          Source: Board of Governors of the Federal Reserve System (US)                 fred.stlouisfed.org
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                         EXHIBIT B
3:49 PM
                                                                                                       Policy Services, Inc.
07/25/22
Accrual Basis                     21-51523-mmp Doc#218 Filed 12/07/22   Entered
                                                                Transaction   Detail By 12/07/22
                                                                                          Account 21:18:20 Main Document Pg 18
                                                                         All of  30
                                                                             Transactions




                                              Type     Date          Num                      Name                             Memo   Clr             Split           Amount

  Policy Services   Finders Fee       Check          03/10/2016   1198     Metropolitan CMG                                                 Corporate Checking 8461      9,500.00
  Policy Services   Finders Fee       Check          12/20/2016            Metropolitan CMG                                                 Corporate Checking 8461     34,000.00
  Policy Services   Finders Fee       Check          08/26/2019            Metropolitan CMG                                                 Corporate Checking 8461     14,000.00
                                                                           Metropolitan CMG 544 Transfers Total                                                         57,500.00




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                                                                                                    Policy Services, Inc.
07/25/22
Accrual Basis                     21-51523-mmp Doc#218 Filed 12/07/22   Entered
                                                                Transaction   Detail By 12/07/22
                                                                                          Account 21:18:20 Main Document Pg 20
                                                                         All of  30
                                                                             Transactions




                                              Type     Date       Num                      Name                             Memo   Clr             Split           Amount

  Policy Services   Finders Fee       Check          08/26/2019         Metropolitan CMG                                                 Corporate Checking 8461     14,000.00
                                                                        Metropolitan CMG 544 CF Transfers Total                                                      14,000.00




                                                                                                                                                                                 Page 1 of 1
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    UCC            Business Organizations           Trademarks           Notary        Account         Help/Fees          Briefcase

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  BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
  Filing Number:                   800147202                             Entity Type:   Domestic Limited Liability Company
                                                                                        (LLC)
  Original Date of                 November 27, 2002                     Entity Status: Forfeited existence
  Filing:
  Formation Date:                  N/A
  Tax ID:                          32009471163                           FEIN:
  Duration:                        Perpetual
  Name:                             METROPOLITAN CMG, LLC
  Address:                          [ADDRESS NOT PROVIDED]

     REGISTERED                 FILING                                                  ASSUMED           ASSOCIATED
       AGENT                   HISTORY           NAMES           MANAGEMENT              NAMES             ENTITIES  INITIAL ADDRESS

   Name                                                                                           Address                           Inactive
                                                                                                                                    Date
   Corporation Service Company dba CSC - Lawyers Incorporating Service                            701 Brazos Street, Suite
   Company                                                                                        1050
                                                                                                  Austin, TX 78701 USA

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BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
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  BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
  Filing Number:                  800147202                            Entity Type:   Domestic Limited Liability Company
                                                                                      (LLC)
  Original Date of                November 27, 2002                    Entity Status: Forfeited existence
  Filing:
  Formation Date:                 N/A
  Tax ID:                         32009471163                          FEIN:
  Duration:                       Perpetual
  Name:                            METROPOLITAN CMG, LLC
  Address:                         [ADDRESS NOT PROVIDED]

     REGISTERED                FILING                                                 ASSUMED          ASSOCIATED
       AGENT                  HISTORY           NAMES          MANAGEMENT              NAMES            ENTITIES  INITIAL ADDRESS

   View  Document                                                                                                            Eff.      Page
   Image Number                   Filing Type                               Filing Date             Effective Date           Cond      Count
             20322740002 Articles of Organization                           November 27, 2002 November 27, 2002 No                     2
             39217520355 Change of Registered Agent/Office                  July 31, 2003     July 31, 2003     No                     1
             72418360360 Tax Forfeiture                                     October 15, 2004  October 15, 2004  No                     1

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  BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
  Filing Number:                  800147202                            Entity Type:   Domestic Limited Liability Company
                                                                                      (LLC)
  Original Date of                November 27, 2002                    Entity Status: Forfeited existence
  Filing:
  Formation Date:                 N/A
  Tax ID:                         32009471163                          FEIN:
  Duration:                       Perpetual
  Name:                            METROPOLITAN CMG, LLC
  Address:                         [ADDRESS NOT PROVIDED]

     REGISTERED                FILING                                                 ASSUMED          ASSOCIATED
       AGENT                  HISTORY           NAMES          MANAGEMENT              NAMES            ENTITIES  INITIAL ADDRESS

                                                                                                      Name Inactive         Consent Filing
   Name                                                     Name Status          Name Type            Date                  #
   METROPOLITAN CMG, LLC                                    Inactive             Legal                October 15,           0
                                                                                                      2004

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  BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
  Filing Number:                  800147202                            Entity Type:   Domestic Limited Liability Company
                                                                                      (LLC)
  Original Date of                November 27, 2002                    Entity Status: Forfeited existence
  Filing:
  Formation Date:                 N/A
  Tax ID:                         32009471163                          FEIN:
  Duration:                       Perpetual
  Name:                            METROPOLITAN CMG, LLC
  Address:                         [ADDRESS NOT PROVIDED]

     REGISTERED                FILING                                                 ASSUMED          ASSOCIATED
       AGENT                  HISTORY               NAMES      MANAGEMENT              NAMES            ENTITIES  INITIAL ADDRESS

   Last Update                  Name                            Title                         Address
   December 3, 2002             Wiley Carter                    Member                        834 Peg Oak
                                                                                              San Antonio, TX 78258 [COUNTRY NOT
                                                                                              PROVIDED]
   December 3, 2002             Willette P Carter               Member                        834 Peg Oak
                                                                                              San Antonio, TX 78258 [COUNTRY NOT
                                                                                              PROVIDED]

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  Filing Number:                  800147202                            Entity Type:   Domestic Limited Liability Company
                                                                                      (LLC)
  Original Date of                November 27, 2002                    Entity Status: Forfeited existence
  Filing:
  Formation Date:                 N/A
  Tax ID:                         32009471163                          FEIN:
  Duration:                       Perpetual
  Name:                            METROPOLITAN CMG, LLC
  Address:                         [ADDRESS NOT PROVIDED]

     REGISTERED                FILING                                                 ASSUMED          ASSOCIATED
       AGENT                  HISTORY           NAMES          MANAGEMENT              NAMES            ENTITIES  INITIAL ADDRESS

                                                                                                              Name
   Assumed Name                               Date of Filing       Expiration Date Inactive Date              Status     Counties
   No names exist for this filing.

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  BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
  Filing Number:                  800147202                            Entity Type:   Domestic Limited Liability Company
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  Original Date of                November 27, 2002                    Entity Status: Forfeited existence
  Filing:
  Formation Date:                 N/A
  Tax ID:                         32009471163                          FEIN:
  Duration:                       Perpetual
  Name:                            METROPOLITAN CMG, LLC
  Address:                         [ADDRESS NOT PROVIDED]

     REGISTERED                FILING                                                 ASSUMED          ASSOCIATED
       AGENT                  HISTORY           NAMES          MANAGEMENT              NAMES            ENTITIES  INITIAL ADDRESS

                                           Document        Filing     Entity Filing
   Name                   Entity Type      Description     Date       Number                              Jurisdiction               Capacity
   There are no documents listed for this entity which match your inquiry.

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  BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
  Filing Number:                  800147202                            Entity Type:   Domestic Limited Liability Company
                                                                                      (LLC)
  Original Date of                November 27, 2002                    Entity Status: Forfeited existence
  Filing:
  Formation Date:                 N/A
  Tax ID:                         32009471163                          FEIN:
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  Name:                            METROPOLITAN CMG, LLC
  Address:                         [ADDRESS NOT PROVIDED]

     REGISTERED                FILING                                                 ASSUMED          ASSOCIATED
       AGENT                  HISTORY           NAMES          MANAGEMENT              NAMES            ENTITIES  INITIAL ADDRESS

   Address
   This entity does not have an initial address record.

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